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                                                            Trojan EV, LLC
                                                                Profit and Loss
                                                           January - December 2021


                                                                                                                                  TOTAL
   Income
    Sales of Product Income                                                                                                  1,264,967.00
    Services                                                                                                                   18,475.00
   Total Income                                                                                                             $1,283,442.00
   Cost of Goods Sold
    AGM Batteries                                                                                                              21,500.00
    Computer for Controller                                                                                                       730.00
    Cost of Goods Sold                                                                                                        619,538.90
    Delivery Paid Product Purchasing                                                                                              150.00
    Duty Fee                                                                                                                      180.00
    Insurance Containers                                                                                                          346.50
    Marine Audio Sound Systems                                                                                                 27,763.94
    Mold Fees                                                                                                                  25,000.00
    Ocean Freight Containers                                                                                                   40,200.00
    Replacement Parts for Repairs                                                                                                1,000.00
    Reverse Cameras                                                                                                              2,835.56
    Tariffs Containers                                                                                                         27,376.69
   Total Cost of Goods Sold                                                                                                  $766,621.59
   GROSS PROFIT                                                                                                              $516,820.41
   Expenses
    Advertising & Marketing                                                                                                      3,080.42
    Advertising & Marketing Magazines                                                                                            5,350.00
    Bank Charges & Fees                                                                                                           320.00
    Cart Repairs                                                                                                                 1,480.90
    Cost of Labor                                                                                                                 150.00
    Credit Card Processing Fees                                                                                                  1,022.33
    Delivery of Carts to Dealer                                                                                                25,550.00
    Insurance                                                                                                                    1,174.60
    Insurance General Liability                                                                                                19,813.59
    Insurance Property                                                                                                           9,395.59
    Interest Paid to Comerica Loan                                                                                                209.58
    Interest Paid to Short Term Loan for Carts                                                                                    345.00
    Legal & Professional Services                                                                                              22,368.86
    Office Supplies & Software                                                                                                   5,819.74
    Payroll                                                                                                                    51,341.67
    Payroll Taxes                                                                                                                4,917.63
    Postage                                                                                                                       424.86
    Purchases                                                                                                                    8,320.00
   Total Expenses                                                                                                            $161,084.77
   NET OPERATING INCOME                                                                                                      $355,735.64
   NET INCOME                                                                                                                $355,735.64


                                                                                                        Trojan EV & GCC

                                                                                                         DTX-30
                                          Accrual Basis Wednesday, October 5, 2022 09:45 AM GMT-05:00    No 4:21-cv-03075            1/1


CONFIDENTIAL-ATTORNEYS' EYES
ONLY                                                                                                                    TROJAN EV001125
